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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      EVANSVILLE DIVISION

MATTHEW DAVIS,                                 )
                                               )
                  Plaintiff                    )     Cause No.: 3:16-cv-00187
                                               )
vs.                                            )
                                               )
LINCARE, INC.                                  )
                                               )
                  Defendant                    )

                                  COMPLAINT FOR DAMAGES
                                 AND REQUEST FOR JURY TRIAL

       Plaintiff, Matthew Davis, by counsel and as his Complaint for Damages against

Defendant, states as follows:

                                   PARTIES, JURISDICTION AND VENUE

       1. Plaintiff, Matthew Davis, is a resident of Vanderburgh County in the State of Indiana

and an employee of Defendant.

       2. Defendant, Lincare, Inc. (hereinafter referred to as "Lincare"), is an employer as

defined by 42 U.S.C. §12101 et. seq. and 29 U.S.C. § 2612 et. seq. and conducts business in the

State of Indiana.

       3. Mr. Davis invokes this Court’s federal question jurisdiction pursuant to 28 U.S.C. §§

1331 and 1343(a).

       4. Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

                                GENERAL FACTS & SPECIFIC ALLEGATIONS

       5. Plaintiff began his employment with Defendant on or about May 12, 2014 as a service

representative.
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        6. Plaintiff suffers from kidney disease which required him to take time off for dialysis

training in August 2015.

        7. Plaintiff returned to work in October 2015, and asked Defendant to accommodate his

restriction of not lifting any objects greater than fifty (50) pounds.

        8. Prior to notifying Defendant of his disability and need for a reasonable

accommodation, Plaintiff's job description required frequent lifting of fifty (50) pounds and

occasional lifting of one hundred twenty (120) pounds..

        9. Defendant then changed Plaintiff's job description so that Plaintiff would be required

to repeatedly lift one hundred sixty (160) pounds.

        10. Defendant has not allowed Plaintiff to return to work.

        11. Plaintiff filed a charge of discrimination with the Equal Opportunity Commission

wherein he alleged discrimination under the American’s with Disabilities Act of 1990 42 U.S.C.

§ 12101 (ADA) charge number 470-2015-03009) in October 2016.

        12. The Equal Employment Opportunity Commission issued Plaintiff a Right-to-Sue

letter on June 30, 2016.

                                               COUNT I

        13. Plaintiff incorporates by reference paragraphs one through twelve (12) of his

complaint for damages.

        14. Plaintiff suffers from a disability as defined by the Americans with Disabilities Act,

specifically he suffers from kidney disease.

        15. The Defendant was aware Plaintiff’s disability and/or perceived disability and

refused to provide reasonable accommodation when Plaintiff presented Defendant with his

restrictions.
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       16. Plaintiff was able to perform the essential functions of his job, with or without

reasonable accommodation.

       17. The Defendant was motivated by Plaintiff’s disability and/or perceived disability

refused to allow him to work, thereby terminating his employment.

       18. Non-disabled employees outside Plaintiff’s protected class were treated more

favorably than Plaintiff.

       19. As a result of Defendant violating Plaintiff’s rights as protected under the Americans

with Disabilities Act, Plaintiff sustained damages including, but not limited to, lost pay and

benefits, mental and emotional anguish, attorney fees and costs.

       WHEREFORE, Plaintiff prays for judgment against Defendant, for an award of lost

wages and benefits, compensatory damages, attorney fees and costs incurred herein, and for all

other appropriate relief.

                                              Respectfully submitted,

                                              HENN HAWORTH CUMMINGS & PAGE

                                              /s/ Paul J. Cummings
                                              David M. Henn, #18002-49
                                              Paul J. Cummings, #22713-41


                                    REQUEST FOR JURY TRIAL

       Plaintiff, by counsel, respectfully requests this cause be tried by jury.


                                              Respectfully submitted,

                                              HENN HAWORTH CUMMINGS & PAGE

                                              /s/ Paul J. Cummings
                                              David M. Henn, #18002-49
                                              Paul J. Cummings, #22713-41
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